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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS


 UNITED STATES OF AMERICA,
 Plaintiff,

 v.                                                       Case No. 19–CR–40081–JPG–1

 DONALD V. SNOWDEN,
 Defendant.

                               MEMORANDUM AND ORDER

       Before the Court are Defendant Donald V. Snowden’s 9 pro se motions: (1) Motion for

Bond (Doc. 173); (2) Motion for Intent to Use Evidence (Doc. 175); (3) Motion to Suppress Text

Messages (Doc. 176); (4) Motion to Suppress Search (Doc. 177); (5) Motion for Facial

Challenge (Doc. 178); (6) Motion to Compel Discovery (Doc. 179); (7) Motion for Expert

Witness (Doc. 180); (8) Motion to Compel Disclosure of Brady Materials (Doc. 193), (9) Motion

for Reconsideration regarding (Doc. 165) Order Striking Motion to Dismiss (Doc. 211).

       Snowden’s Motion to Suppress Statements (Doc. 181) and Motion Objecting to

Statement of Miranda Rights (Doc. 210) will be heard in a hearing before this Court on

November 22, 2021.

                     I.      PROCEDURAL AND FACTUAL HISTORY

       According to the Government, a confidential source (“CS”) working for law enforcement

sent a text message to Snowden to purchase methamphetamine on July 30, 2019 (Doc. 185, p. 1).

The CS said that he wanted “a few” (meaning multiple ounces of methamphetamine); and

Snowden said that he was “good” any time. Id.

       On August 1, the CS texted Snowden again and arranged to meet at a Wendy’s

Restaurant later that day to purchase two ounces of methamphetamine. Id. “The CS was


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equipped with audio/video recording equipment pursuant to federal overhear authority . . . .” Id.

at 2-3. When the CS arrived at the Wendy’s, Snowden texted him saying to meet at a nearby

residence instead. Id. at 3. He did, and Snowden greeted the CS at the vehicle passenger door,

and the CS gave him the cash. Id. at 3, 5. Snowden then met with another individual, Kevin

McBride, who was parked in another car. Id. at 3-4. Finally, Snowden walked away, and

McBride delivered to the CS a Wendy’s french-fry container with the methamphetamine. Id. at

4-5.

        The next day, law enforcement conducted a warrant search of a residence (Doc. 177).

Snowden says that he “did not reside at the address, nor did [he] have any meth in [his]

possession to validate a meth conspiracy nor did [McBride] in any amount . . . .” Id. at 2. He

also says that “[t]here was no drug sells of any kind that supported a warrant for conspiracy of

meth distribution that took place out of” that residence. Id. at 1.

        After his arrest, Snowden was interviewed by a DEA agent on August 2, 2019. (Doc.

181, p. 1). He says that the agent “threatened and promised [him] to utter the words ‘ice’ or he

was not free to leave. Snowden uttered the word to due to that reason, and also because he

feared for his life.” Id.

        The next month, a federal Grand Jury brought a one-count indictment against Snowden

for distribution of methamphetamine (Doc. 1). Snowden signed a written Waiver of Detention

Hearing (Doc. 18), and Magistrate Judge Reona J. Daly entered an Order of Detention (Doc. 19).

In the Waiver, Snowden acknowledged that the issue of detention would only be reopened “if the

Court finds information exists that was not known to the movant at the time of this waiver and

that has material bearing on the issue of detention.” (Doc. 18, p. 1). Because Snowden was

charged with a serious drug offense, Magistrate Judge Daly noted that there was a “rebuttable


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presumption that no condition or combination of conditions will reasonably assure the

appearance of the defendant as required and the safety of the community . . . .” Id. at 2. A

superseding indictment later added a conspiracy charge and named McBride as a co-defendant.

Second Superseding Indictment 1 (Doc. 83).

       Defendant has filed eleven (11) pro se motions in this matter. On September 22, 2021 the

Court scheduled a hearing on Defendant’s Motion to Suppress his statement to law enforcement

(Doc. 181). It has been rescheduled for November 22, 2021. On October 4, 2021, Snowden filed

a Motion objecting to his Statement of Miranda Rights (Doc. 210). Theses motion will be

addressed in his hearing on November 22, 2021. We address the remaining nine pro se motions.

                                II.      LAW AND ANALYSIS

           A. Motion for Bond (Doc. 173)

       Snowden asks the Court to reconsider the Order of Detention on September 19, 2019

because Magistrate Judge Daly did not hear evidence from either party and did not issue written

findings as required by 18 U.S.C. § 3142(i). (Doc. 173, p. 1). He also claims that he never

signed the written Waiver of Detention Hearing. Id. at 2. Finally, he says that there are

conditions of release that would reasonably assure his appearance and public safety: “[H]e can be

released to the care of his mother who will report any violations of conditions of his release.

Also, GPS monitoring to ensure a curfew and his whereabouts, and pretrial facility halfway

house to supervise him and he can submit to probation daily with drug/alcohol testing.” Id. at 4.

The Government has responded to the motion (Doc. 195).

       After a defendant’s arrest, a magistrate judge conducts a hearing to determine whether the

defendant should be detained or released pending trial. See 18 U.S.C. § 3142(a). During the

hearing, the defendant “shall be afforded an opportunity to testify, to present witnesses, to cross-


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examine witnesses who appear at the hearing, and to present information by proffer or

otherwise.” 18 U.S.C. § 3142(f)(2). If the magistrate judge issues a detention order, then she

must “include written findings of fact and a written statement of the reasons for the detention.”

18 U.S.C. § 3142(h). A defendant ordered detained by a magistrate judge may seek de novo

review in the district court. 18 U.S.C. § 3145(b). Ultimately, in assessing whether a defendant

should be detained pending disposition, the judge must consider “whether there are conditions of

release that will reasonably assure the appearance of the person as required and the safety of any

other person and the community.” 18 U.S.C. § 3142(g).

       Snowden voluntarily submitted to pretrial detention when he signed a Waiver of

Detention Hearing (Doc. 18). Magistrate Judge Daly therefore did not err by ordering his

detention without conducting a hearing or entering factual findings. Yet despite the Waiver,

Magistrate Judge Daly later considered Snowden’s Motion to Reconsider Bond and properly

denied it on its merits (Doc. 63). And Snowden’s signature on the Waiver of Detention Hearing

matches the one on his Motion for Bond—his argument about the “alleged” waiver are

unavailing. At any rate, the Court agrees there are no conditions of release that will either

reasonably assure the appearance of the defendant as required and the safety of the community.

Snowden is charged with a controlled-substance offense, and if found guilty, this would be his

fifth conviction for a controlled-substance offense. His criminal history and the seriousness of

the allegations against him suggest that, as a repeat offender, Snowden poses a public-safety risk.

       The Court therefore DENIES Snowden’s Motion for Bond (Doc. 173).

           B. Motion for Intent to Use Evidence (Doc. 175)

       Snowden asks the Court to order the Government to provide notice of any evidence it

intends to use in its case-in-chief at trial “and any evidence the [he] may be entitled to discover


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under Rule 16 [of the Federal Rules of Criminal Procedure],” including the grand jury

transcripts. (Doc. 175). The Government has responded to the motion assuring the Court that it

has provided, and will continue to provide all discoverable material, including Brady material

and Jencks Act material, at the appropriate time, to Snowden in this case (Doc. 188). It further

argues Snowden has not made the showing necessary for blanket disclosure of all grand jury

testimony. Id.

       “A defendant . . . is not entitled to a disclosure of grand jury proceedings without some

demonstration of ‘particularized need.’” United States v. Edelson, 581 F.2d 1290, 1291 (7th Cir.

1978). While “[i]t does not follow . . . that grand jury minutes should never be made available to

defense,” the defendant must still “show that a ‘particularized need’ exists for the minutes which

outweighs the policy of secrecy.” Pitt. Plate Glass Co. v. United States, 360 U.S. 395, 400

(1959) (emphasis added). This “long-established policy of secrecy” is “older than our Nation

itself.” Id. at 399. “To make public any part of its proceedings would inevitably detract from its

efficacy. Grand jurors would not act with that independence requires of an accusatory and

inquisitorial body.” Id. at 400. So to meet his burden, a party “seeking grand jury transcripts . . .

must show that the material [he] seeks is needed to avoid a possible injustice in another judicial

proceeding, that the need for disclosure is greater than the need for continued secrecy, and that

[his] request is structured to cover only material so needed.” Douglas Oil Co. v. Petrol Stops

NW, 441 U.S. 211, 222 (1979).

       Snowden claims to “have more than one particularized need” for the grand jury transcripts

(Doc. 175). First, he says that he needs the transcript to “prepar[e] a possible civil suit” for

“wrongful arrest/false arrest.” Id. But this Court already dismissed that case and entered judgment.

(See Judgment at 1, Snowden v. Henning, No. 19-CV-01322-JPG, ECF No. 39 (S.D. Ill. Mar. 4,


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2021)). More importantly, Snowden does not say why the grand jury transcripts are “absolutely

necessary, rather than simply beneficial to [his] § 1983 action and that the information contained

therein could not have been obtained through normal discovery channels.” See Lucas v. Turner,

725 F.2d 1095, 1102 (7th Cir. 1984).

       Snowden also wants the transcripts because he thinks that the superseding indictment was

not based on probable cause (Doc. 175, p. 2). As such, Snowden believes the transcripts will

demonstrate prosecutorial misconduct. But “[t]he grand jury gets to say—without any review,

oversight, or second-guessing—whether probable cause exists to think that a person committed a

crime.” Kaley v. United States, 571 U.S. 320, 329 (2014) (“We have found no authority for looking

into and revising the judgment of the grand jury upon the evidence, for the purpose of determining

whether or not the finding was founded upon sufficient proof.”) (cleaned up). Additionally,

Snowden has not pointed to anything specific that may suggest the prosecutor engaged in improper

conduct before the grand jury. United States v. Canino, 949 F.2d 928, 943 (7th Cir.1991) (citing

United States v. Edelson, 581 F.2d 1290, 1291–92 (7th Cir. 1978).

       Finally, Snowden contends that he is entitled to the grand jury materials under the Jencks

Act, 18 U.S.C. § 3500; Brady v. Maryland, 373 U.S. 83 (1963); and Giglio v. United States,

405 U.S. 150 (1972). Not so. The Jencks Act only requires the Government to produce statements

“made by a witness to a grand jury” after the witness “has testified on direct examination” at trial.

§ 3500(b). But no witness has yet testified in this case. Brady requires the Government to disclose

to the defense any evidence that “is material either to guilt or punishment”—that is, any evidence

“which, if made available would tend to exculpate him or reduce the penalty . . . .” 363 U.S. at 88–

89. There is no indication, however, that the grand jury materials contain exculpatory evidence.

And Giglio simply extends Brady’s disclosure requirements to include information about deals


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that a witness may have entered with the Government. 405 U.S. at 154. Yet Snowden makes no

assertion that the grand jury materials contain any discoverable evidence under Giglio.

       The Court therefore DENIES Snowden’s Motion for Intent to Use Evidence (Doc. 175).

           C. Motion to Suppress Text Messages (Doc. 176)

       Pointing to the supposed text exchange between himself and the CS, Snowden says that

there is “not a proper foundation to authenticate” them; that there is “no testimony from sender on

who authored the text”; that the text messages are hearsay; that the risk of unfair prejudice posed

by admitting the testimony outweighs their probative value; and that the text messages, standing

alone, “are too vague to support a mens rea element of a crime.” (Doc. 176, p. 1–2).

       The Court disagrees. For one, “[t]o satisfy the requirement of authenticating or identifying

an item of evidence,” the Government need only “produce evidence to support a finding that the

item is what the proponent claims it is.” Fed. R. Evid. 901(a). There are many ways that the

Government can accomplish this, including through testimony of a witness with knowledge;

distinctive characteristics of the messages; and evidence that the messages were sent to or from a

particular phone number. Fed. R. Evid. 901(b). And the time for the Government to do so is at

trial, not now. To that end, if they were sent by Snowden himself, then they are not hearsay. See

Fed. R. Evid. 801(d). The messages that Snowden supposedly received may still be admissible

“not for the truth of the matter asserted but instead to provide context for [his] own messages.” See

United States v. Lewisbey, 843 F.3d 653, 658 (7th Cir. 2016) (citing Fed. R. Evid. 801(c)(2)).

Snowden also says that the text messages are “prejudicial” but does not say how, let alone why,

that prejudice is unfair. See Fed. R. Evid. 403. Finally, the text messages do not need to be

dispositive of Snowden’s guilt or innocence to be admissible; they need only have some “tendency

to make a fact more or less probable than it would be without the evidence.” See Fed. R. Evid.


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401(a).

          The Court therefore DENIES Snowden’s Motion to Suppress Text Messages (Doc. 176).

             D. Motion to Suppress Search (Doc. 177)

          Snowden requests that all evidence derived from the search 412 E. Hester St. Apt A be

suppressed because the search was conducted in violation of the Fourth Amendment.

          Snowden first states that the warrant issued in his case was not supported by probable

cause. “Probable cause exists when the supporting affidavit presents a total set of circumstances

which create a ‘fair probability’ that a search will uncover evidence of a crime.” United States v.

Haynes, 882 F.3d 662, 665 (7th Cir. 2018) (quoting Illinois v. Gates, 462 U.S. 213, 238 (1983)).

The magistrate's task is “to make a practical, common-sense decision whether, given all the

circumstances set forth in the affidavit before him ... there is a fair probability that contraband or

evidence of a crime will be found in a particular place.” Gates, 462 U.S. at 238. Probable cause

does not require a showing of criminal activity, as it rides on “the degree of suspicion that

attaches to particular types of noncriminal acts.” Id. at 243, n.13. It also depends on the totality

of the circumstances—“the whole picture”—not each fact in isolation. United States v. Rees, 957

F.3d 761, 766 (7th Cir. 2020) (internal citations omitted).

          With these principles in mind, the affidavit to the search warrant provides sufficient

reason to support a finding of probable cause that evidence of illegal drug activity could be found

at 412 E. Hester St., Apt A. Detective Pingolt states in his affidavit, on August 1, 2019, Snowden

texted the CS to meet him at the Wendy’s (Doc. 196, Exhibit 1). Later, Snowden texted the CS to

meet him at 412 E. Hester. Id. Agents observed Snowden exit Apt A at 412 E. Hester St., meet

with the CS, and walk back into 412 E. Hester St., Apt A. Id. Ten minutes later Snowden exited

Apt A. Id. McBride was dropped off by a vehicle and Snowden and McBride met with the CS for


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a short time. Id. Snowden and McBride reentered 412 E. Hester St., Apt A. Agents met back up

with the CS and recovered one bag of suspected methamphetamine. The CS stated Snowden kept

$800 provided and McBride handed the CS a Wendy’s French fry container with the alleged

drugs. Id.

       On August 2, 2019, agents conducted surveillance of 412 E. Hester St., Apt A. Agents

observed at least six individuals entering and exiting the apartment. Id. Officers observed

McBride exit the apartment. Officers, in a fully marked Carbondale Police Department car, met

with McBride who ran once officers asked for identification. Id. McBride was apprehended and

found with alleged methamphetamine. Id. Officers went back to 412 E. Hester St., Apt A and

made contact with Snowden, who had an active warrant from Franklin County. Officers noted a

smell of cannabis coming from the apartment. Snowden was immediately placed under arrest. Id.

       Based on a “totality” of circumstances, the affidavit supports a finding of probable cause.

Specifically, information and alleged drug evidence obtained from the CS from Snowden and

McBride who entered and exited the apartment on August 1, 2019 supports probable cause.

While Snowden argues that he “did not have meth in his possession to validate a meth

conspiracy,” probable cause does not require a “showing” of criminal activity. Gates, 462 U.S. at

238. Based on the information from the affidavit, and looking at the totality of circumstances, the

magistrate made a practical and common-sense decision that there was a fair probability drugs

would be found in the apartment.

       Snowden also states there was no good faith exception because he did not reside at the

412 E. Hester St., Apt A and was not found with any methamphetamine in his possession. Good-

faith exception might not apply in cases where: (1) “the issuing magistrate wholly abandoned his

judicial role”; (2) the warrant was “so lacking in indicia of probable cause as to render official


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belief in its existence entirely unreasonable”; or (3) “a warrant [was] so facially deficient” that

the “executing officers [could not] reasonably presume it to be valid.” United States v. Kienast,

907 F.3d 522, 528 (7th Cir. 2018) (citing United States v. Leon, 468 U.S. 897 (1984). None of

the reasons enumerated by Snowden rise to the level that demonstrate the magistrate

“abandoned” his judicial role. The Court also does not find the warrant was “so lacking in indicia

of probable cause,” rendering belief in its existence unreasonable. Lastly, the Court, upon review

of the warrant, does not find it was facially deficient. As outlined above, the affidavit outlined

many reasons to support a finding of probable cause that illegal drug activity could be found in

412 E. Hester, Apt A.

        Suppression of evidence is a “last resort.” Hudson v. Michigan, 547 U.S. 586, 591

(2006). It is a judge-made rule meant to deter future Fourth Amendment violations. Davis v.

United States, 564 U.S. 229, 236-37 (2011). The Court does not believe this remedy is warranted

in the instant case.

        The Court therefore DENIES Snowden’s Motion to Suppress Search (Doc. 177).

            E. Motion for Facial Challenge (Doc. 178)

        Snowden contends that the video and audio equipment worn by the CS on August 1, 2019

was not legally authorized (Doc. 178, p. 1). He therefore claims that there was an unreasonable

search and seizure in violation of the Fourth Amendment. Id. He says that the supposed federal

overhear authority was invalid because it was merely based on “vague text messages that didn’t

support a crime nor any national security threat or foreign affairs threat.” Id. at 2.

        The Court disagrees. It is a “well-settled principle that there is no interest protectable by

the Fourth Amendment in those situations in which one party to a conversation reposes a trust or

confidence in the other party who is actually an undisclosed government agent or informant.”


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United States v. Craig, 573 F.2d 455, 474 (7th Cir. 1979). In other words, a “recording taken by

an informant would not transform his actions into a search.” United States v. Thompson, 811 F.3d

944, 949 (7th Cir. 2016).

               Simply put, no legitimate Fourth Amendment interest is involved
               in such situations, for that Amendment affords no protection to a
               wrongdoer’s misplaced belief that a person to whom he voluntarily
               confides his wrongdoing will not reveal it. Nor is the Fourth
               Amendment violated because the undisclosed agent simultaneously
               record the conversation with an electronic recording device on his
               person, or because the conversation is electronically transmitted by
               the undisclosed agent to a remote place where it is overheard by
               other agents and/or recorded.

Craig, 573 F.2d at 474 (cleaned up). More clearly stated, “[h]owever strongly a defendant may

trust an apparent colleague, his expectations in this respect are not protected by the Fourth

Amendment when it turns out that the colleague is a government agent regularly communicating

with the authorities.” United States v. White, 401 U.S. 745, 749 (1971).

       It follows that so long as “one party to the conversation consents to the electronic

recording,” the recordings are generally admissible. Id.; see also United States v. White, 401 U.S.

745, 759 (1971) (“No warrant to ‘search and seize’ is required . . . when [a government] agent,

unbeknown to the defendant, carries electronic equipment to record the defendant’s words and the

evidence so gathered is later offered in evidence.”). In short, Snowden’s claim that the media

captured by the CS infringed on his Fourth Amendment rights is contrary to well established legal

principles and therefore, without merit.

       The Court therefore DENIES Snowden’s Motion for Facial Challenge (Doc. 178).

           F. Motion to Compel Discovery (Doc. 179)

       Snowden attacks the authenticity, reliability, and/or chain of custody regarding two

ounces of methamphetamine (or 86 grams) (Doc. 179, p. 1). The Court’s determination of


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whether this evidence is admissible will be done before trial if the Government has laid a proper

foundation.

       First, the general standard for admissibility of evidence is that it be in “substantially the

same condition as when the crime was committed; a perfect chain of custody is not a prerequisite

to admission.” United States v. Smith, 308 F.3d 726 (7th Cir. 2002). Additionally, district courts

make “a ‘presumption of regularity,’ presuming that the government officials who had custody

of the exhibits discharged their duties properly.” United States v. Prieto, 549 F.3d 513, 524 (7th

Cir. 2008) (internal citations omitted). Thus, “the government does not have to exclude all

possibilities of tampering with the evidence. Instead, the government need only show that it took

reasonable precautions to preserve the original condition of the evidence.” Id. (internal citations

omitted).

       Secondly, the argument Snowden makes regarding gaps in chain of custody goes to the

weight of the evidence, rather than its admissibility. Id. at 524. As such, the jury determines what

weight the evidence should be given. Id. (Seventh Circuit holding the “district court did not err

when it admitted methamphetamine exhibits into evidence and allowed the jury to determine

what weight that evidence deserved”).

       The Court therefore DENIES Snowden’s Motion to Compel Discovery (Doc. 179).

            G. Motion for Expert Witness (Doc. 180)

       Snowden next asks for the video and audio records to be authenticated. Federal Rule of

Evidence 901 requires the Government do so. It is the Government’s burden to show that the item

is genuine – either through the testimony of a witness or evidence regarding the process. The Rules

of Federal Evidence address Snowden’s concerns regarding authentication and the Government’s

burden of ensuring evidence “is what the proponent claims it is.” Fed. R. Evid. 901 (a).


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       Next, Snowden states “C.I. must testify to firsthand knowledge as to accuracy of the video

recording[.]” (Doc. 180, p. 1). Snowden will have an opportunity to cross examine Government

witnesses during his trial.

       Lastly, Snowden asks the Court to appoint an expert “to testify about the items seized,

including contained, napkins to check for DNA, and for fingerprints, . . . the mental capacity of

the [CS] who said he tried to kill himself and shot his hand off.” Id. at 2. The Court denies this

request. Under the Criminal Justice Act, an indigent defendant may request that the court provide

him access to expert services that are “necessary for adequate representation.” 18 U.S.C. §

3006A(e)(1). Expert services are necessary if “a reasonable attorney would engage such services

for a client having the independent financial means to pay for them.” United States v. Winbush,

580 F.3d 503, 509 (7th Cir. 2009) (quoting United States v. Cravens, 275 F.3d 637, 639 (7th Cir.

2001). Mr. Snowden provides no clear basis as to why and how such an expert could aid in his

defense. The Court finds that an expert to testify about the evidence (both DNA and fingerprints)

as well as the mental capacity of the CS are neither necessary nor would a reasonable attorney

engage in such services on behalf of Snowden.

       The Court therefore DENIES Snowden’s Motion for an Expert Witness (Doc. 180).

           H. Motion to Compel Disclosure of Brady Materials (Doc. 193)

       Snowden requests the Court compel discovery obligations under Brady, Giglio, and the

Jencks Act.

       Under Brady, Giglio, and their progeny of cases, the prosecution has a duty to ensure

criminal trials are fair by disclosing evidence that is favorable to the defense or impeaches a

government witness. Brady and Giglio material must be disclosed “in time for the defendant to

make use of it” and not “so late as to prevent the defendant from receiving a fair trial.” United


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States v. Grintjes, 237 F.3d 876, 880 (7th Cir. 2001) (internal quotations omitted). This material

does not necessarily need to be disclosed before trial. The Government has acknowledged its

continuing obligations under Brady, Giglio and their progeny. It has been repeatedly held that

where the government has made assurances it will comply with Giglio and Brady, those

assurances are sufficient. See Strickler v. Greene, 527 U.S. 263, 283 n. 23 (1999).

       In support of his motion Snowden states he is “showing evidence of witheld [sic]

exculpatory evidence, Brady material, to clear or to tend to clear alleged guilt (Doc. 193, p. 2).

Snowden states that the “prosecution own C.I. stated he never received any drugs from

Snowden.” (Doc. 193, p. 4). Snowden argues that this shows the “prosecution isn’t up to date

with the Brady, Giglio, Jencks, and the testimony of witnesses should be corrected, including

false testimony.” Id. at 5. He is requesting impeachment evidence, evidence of witness bias and

exculpatory evidence. Id. It is unclear and speculative what material Snowden is requesting.

Again, the Government has already indicated it is aware of its obligations under Brady v.

Maryland, 373 U.S. 83 (1963) and Giglio v. United States, 405 U.S. 150 (1972). (Doc 197, p. 2).

The Government’s assurances are enough. “[M]ere speculation would convert Brady into a

discovery device and impose an undue burden upon the district court.” United States v. Andrus,

775 F.2d 825, 843 (7th Cir. 1985).

       Regarding Snowden’s request regarding Jenck materials, Court lacks the authority to

order production under the Jencks Act. United States v. Harris, 542 F.2d 1283, 1296 (7th Cir.

1976). As stated above, the Jencks Act only requires the Government to produce statements

“made by a witness to a grand jury” after the witness “has testified on direct examination” at

trial. § 3500(b). No witness has yet testified in this case. Additionally, the Government stated

they have already included “early production of Jencks Act material.” (Doc. 197, p. 4).


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       The Court therefore DENIES Snowden’s Motion to Compel Disclosure (Doc. 193).

           I. Motion for Reconsideration re: 206 Order (Doc. 211)

       Snowden requests the Court reconsider his pro se Motion to Dismiss for violation of his

Fourth and Fifth Amendment rights (Doc. 211). Snowden states he was not able to file his

motion by the deadline because his Motion to Proceed pro se was pending and his court date

changed to November 9, 2021. Id. The Court denied the Motion for Reconsideration (Doc. 211)

for not being timely filed by the August 9, 2021 deadline.

       The Court has “both the authority to establish deadlines and the discretion to enforce

them.” Raymond v. Ameritech Corp., 442 F.3d 600, 605 (7th Cir. 2006). Snowden will not be

prejudiced by this ruling. The assertions and arguments in Defendant’s Motion to Dismiss (Doc.

24) are made in Snowden’s other pro se motions discussed here. Specifically, in Snowden’s

Motion to Dismiss he states his arrest is not supported by probable cause (Doc. 204, p. 1) and the

prosecutors are violating their obligations under Brady. Id. at 2. These assertions have been

addressed by the Court already.

       Also, the Court will hear arguments on Snowden’s Motion to Suppress Statements (Doc.

181) and Motion to Object to Statement of Miranda Rights (Doc. 210). The Court has afforded

Snowden ample opportunity to address his concerns.

       Additionally, Snowden states the Court is violating his Right to a Speedy Trial (Doc. 204,

p. 4). The Speedy Trial Act of 1974, 18 U.S.C. § 3161, requires that a defendant's trial begin

within 70 days of the defendant's indictment or first appearance, whichever comes later. 18

U.S.C. § 3161(c)(1). The Act provides for certain time periods to be excluded from the 70-day

clock, including continuances granted to serve the ends of justice, 18 U.S.C. § 3161(h)(7)(A),

delays due to a witness's unavailability, § 3161(h)(3), and time during which a pretrial motion is


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pending. § 3161(h)(1)(D). After the Government issued a superseding indictment (Doc. 48) in

June 2020, Snowden filed 23 pro se motions. Filing pretrial motions tolls the Speedy Trial Act.

Snowden’s speedy trial rights have not been violated.

       The Court therefore DENIES Snowden’s Motion for Reconsideration (Doc. 211).

                                  III.     CONCLUSION

       For the foregoing reasons, Snowden’s Motions (1) Motion for Bond (Doc. 173); (2)

Motion for Intent to Use Evidence (Doc. 175); (3) Motion to Suppress Text Messages (Doc.

176); (4) Motion to Suppress Search (Doc. 177); (5) Motion for Facial Challenge (Doc. 178); (6)

Motion to Compel Discovery (Doc. 179); (7) Motion for Expert Witness (Doc. 180); (8) Motion

to Compel Disclosure of Brady Materials (Doc. 193), (9) Motion for Reconsideration regarding

(Doc. 165) Order Striking Motion to Dismiss (Doc. 211) are DENIED.


IT IS SO ORDERED.
Dated: November 16, 2021
                                                    /s/ J. Phil Gilbert
                                                    J. PHIL GILBERT
                                                    DISTRICT JUDGE




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